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                                   4                             UNITED STATES DISTRICT COURT

                                   5                            NORTHERN DISTRICT OF CALIFORNIA

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                                   7   DEFENDERS OF WILDLIFE, et al.,            Case No. 21-cv-00344-JSW
                                                                                          21-cv-00349-JSW
                                                  Plaintiffs,                             21-cv-00561-JSW
                                   8
                                             v.                                  JUDGMENT
                                   9

                                  10   U.S. FISH AND WILDLIFE SERVICE, et
                                       al.,
                                  11              Defendants.
                                  12   WILDEARTH GUARDIANS, et al.,
Northern District of California
 United States District Court




                                  13              Plaintiffs,
                                  14         v.
                                  15   UNITED STATES DEPARTMENT OF
                                       THE INTERIOR, et al.,
                                  16
                                                    Defendants.
                                  17
                                       NATURAL RESOURCES DEFENSE
                                  18   COUNCIL, INC.,

                                  19              Plaintiff,

                                  20         v.

                                  21   UNITED STATES DEPARTMENT OF
                                       THE INTERIOR, et al.,
                                  22
                                                    Defendants.
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                                   1          Pursuant to the Court’s Order issued this date resolving Plaintiffs’ motion for summary

                                   2   judgment and Defendants’ cross-motions for summary judgment, the Court HEREBY ENTERS

                                   3   JUDGMENT in favor of Plaintiffs and against the Defendants.

                                   4          IT IS SO ORDERED.

                                   5   Dated: February 10, 2022

                                   6                                                  ______________________________________
                                                                                      JEFFREY S. WHITE
                                   7                                                  United States District Judge
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Northern District of California
 United States District Court




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